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Sheehan & Associates, P.C.
Spencer Sheehan
505 Northern Blvd Ste 311
Great Neck NY 11021-5101
Telephone: (516) 303-0552
Fax: (516) 234-7800
spencer@spencersheehan.com

Reese LLP
Michael R. Reese
100 W 93rd St Fl 16
New York NY 10025-7524
Telephone: (212) 643-0500
Fax: (212) 253-4272
mreese@reesellp.com

United States District Court
Eastern District of New York                                     1:20-cv-00979

Janet Kyszenia, individually and on behalf
of all others similarly situated,
                               Plaintiff,

                 - against -                                       Complaint

The Hain Celestial Group, Inc.,
                               Defendant

       Plaintiff by attorneys alleges upon information and belief, except for allegations pertaining

to plaintiff, which are based on personal knowledge:


       1.    The Hain Celestial Group, Inc. (“defendant”) manufactures, distributes, markets,

labels and sells rice drink beverages purporting to be flavored only with vanilla under their Rice

Dream brand (“Products”).

       2.    The Products are available to consumers from retail and online stores of third-parties

and Amazon.com and are sold in cartons of 32 OZ (946 ML).

       3.    The relevant front representations include “Vanilla,” “Classic,” “99% Fat Free,”

                                                1
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“Rice Dream,” “Rice Drink” and “Easy to Digest.”




       4.    The Product’s opposite panel contains the Nutrition Facts and ingredient list.




       5.    The unqualified, prominent and conspicuous representation as “Vanilla” is false,

deceptive and misleading because the Product contains non-vanilla flavors which imitate and

extend vanilla but are not derived from the vanilla bean, yet these flavors are not disclosed to

consumers as required and expected.


I. Increase in Consumption of Non-Dairy, Plant-Based Milk Alternatives



                                                2
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        6.     Over the past ten years, the number of dairy milk substitutes has proliferated to

include “milks” (milk-like beverages) made from various agricultural commodities.

        7.     Reasons for consuming non-dairy milks include avoidance of animal products due to

health, environmental or ethical reasons, dietary goals or food allergies.1

        8.     Three of the most popular milk alternatives are made from rice, soybeans and

almonds.

        9.     Recent studies indicate that of the 7.2 million U.S. adults with food allergies, 3

million are allergic to tree nuts while 1.5 million are allergic to soy.2

        10.    Whether due to few people being allergic to soy and tree nuts (almonds) or the

different qualities of each product type, consumers have preferences for one over the other and

seldom switch between their “plant milk” of choice.

        11.    Unlike soy and almond milk, rice milk is valued in part because it is the least

allergenic of non-dairy milks.

        12.    This makes it popular and widely used because it will be tolerated by more people

than soy or almond milk.

        13.    A rice milk flavored with vanilla or chocolate will contain different types and

amounts of vanilla flavorings than a soy or almond milk, due to its naturally sweeter flavor.


II.     Vanilla is Constantly Subject to Efforts at Imitation Due to High Demand

        14.    The tropical orchid of the genus Vanilla (V. planifolia) is the source of the prized

flavor commonly known as vanilla, defined by law as “the total sapid and odorous principles



1
  Margaret J. Schuster, et al. “Comparison of the Nutrient Content of Cow’s Milk and Nondairy Milk Alternatives:
What’s the Difference?,” Nutrition Today 53.4 (2018): 153-159.
2
  Ruchi Gupta et al., "Prevalence and severity of food allergies among US adults," JAMA network open 2, no. 1
(2019): e185630-e185630.
                                                       3
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extractable from one-unit weight of vanilla beans.”3

        15.     Vanilla’s “desirable flavor attributes…make it one of the most common ingredients

used in the global marketplace, whether as a primary flavor, as a component of another flavor, or

for its desirable aroma qualities.”4

        16.     Though the Pure Food and Drugs Act of 1906 (“Pure Food Act”) was enacted to

“protect consumer health and prevent commercial fraud,” this was but one episode in the perpetual

struggle against those who have sought profit through sale of imitation and lower quality

commodities, dressed up as the genuine articles.5

        17.     It was evident that protecting consumers from fraudulent vanilla would be

challenging, as E. M. Chace, Assistant Chief of the Foods Division of the U.S. Department of

Agriculture’s Bureau of Chemistry, noted “There is at least three times as much vanilla consumed

[in the United States] as all other flavors together.”6

        18.     This demand could not be met by natural sources of vanilla, leading manufacturers

to devise clever, deceptive and dangerous methods to imitate vanilla’s flavor and appearance.

        19.     Today, headlines tell a story of a resurgent global threat of “food fraud” – from olive

oil made from cottonseeds to the horsemeat scandal in the European Union.7

        20.     Though “food fraud” has no agreed-upon definition, its typologies encompass an



3
  21 C.F.R. §169.3(c).
4
  Daphna Havkin-Frenkel, F.C. Bellanger, Eds., Handbook of Vanilla Science and Technology, Wiley, 2018.
5
  Berenstein, 412; some of the earliest recorded examples of food fraud include unscrupulous Roman merchants who
sweetened wine with lead.
6
  E. M. Chace, “The Manufacture of Flavoring Extracts,” Yearbook of the United States Department of Agriculture
1908 (Washington, DC: Government Printing Office, 1909) pp.333–42, 333 quoted in Nadia Berenstein, "Making a
global sensation: Vanilla flavor, synthetic chemistry, and the meanings of purity," History of Science 54.4 (2016):
399-424 at 399.
7
  Jenny Eagle, ‘Today’s complex, fragmented, global food supply chains have led to an increase in food fraud’,
FoodNavigator.com, Feb. 20, 2019; M. Dourado et al., Do we really know what’s in our plate?. Annals of Medicine,
51(sup1), 179-179 (May 2019); Aline Wisniewski et al., "How to tackle food fraud in official food control authorities
in Germany." Journal of Consumer Protection and Food Safety: 1-10. June 11, 2019.
                                                         4
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ever-expanding, often overlapping range of techniques with one common goal: giving consumers

less than what they bargained for.


      A. Food Fraud as Applied to Vanilla

         21.    Vanilla is considered a “high-risk [for food fraud] product because of the multiple

market impact factors such as natural disasters in the source regions, unstable production, wide

variability of quality and value of vanilla flavorings,” second only to saffron in price.8

         22.    The efforts at imitating vanilla offers a lens to the types of food fraud regularly

employed across the spectrum of valuable commodities in today’s interconnected world.9

         Type of Food Fraud                                     Application to Vanilla

    ➢ Addition of markers
       specifically tested for          •   Manipulation of the carbon isotope ratios to produce
       instead of natural                   synthetic vanillin with similar carbon isotope composition
       component of vanilla                 to natural vanilla
       beans

                                        •   Ground vanilla beans and/or seeds to provide visual appeal
                                            as “specks” so consumer thinks the product contains real
                                            vanilla beans, when the ground beans have been exhausted
    ➢ Appearance of more
                                            of flavor
       and/or higher quality of
                                        •   Caramel to darken the color of an imitation vanilla so it
       the valued ingredient
                                            more closely resembles the hue of real vanilla10
                                        •   Annatto and turmeric extracts in dairy products purporting
                                            to be flavored with vanilla, which causes the color to better



8
   Société Générale de Surveillance SA, (“SGS “), Authenticity Testing of Vanilla Flavors – Alignment Between
Source Material, Claims and Regulation, May 2019.
9
  Kathleen Wybourn, DNV GL, Understanding Food Fraud and Mitigation Strategies, PowerPoint Presentation, Mar.
16, 2016.
10
   Renée Johnson, “Food fraud and economically motivated adulteration of food and food ingredients." Congressional
Research Service R43358, January 10, 2014.
                                                        5
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                                           resemble the hue of rich, yellow butter

                                     •     Tonka beans, though similar in appearance to vanilla
 ➢ Substitution and
                                           beans, are banned from entry to the United States due to
     replacement of a high
                                           fraudulent use
     quality ingredient with
                                     •     Coumarin, a toxic phytochemical found in Tonka beans,
     alternate ingredient of
                                           added to imitation vanillas to increase vanilla flavor
     lower quality
                                           perception

 ➢ Addition of less expensive
     substitute ingredient to            • Synthetically produced ethyl vanillin, from recycled paper,
     mimic flavor of more                  tree bark or coal tar, to imitate taste of real vanilla
     valuable component

                                         • “to mix flavor materials together at a special ratio in which
                                           they [sic] compliment each other to give the desirable
                                           aroma and taste”11
                                         • Combination with flavoring substances such as propenyl

 ➢ Compounding, Diluting,                  guaethol (“Vanitrope”), a “flavoring agent [, also]

     Extending                             unconnected to vanilla beans or vanillin, but unmistakably
                                           producing the sensation of vanilla”12

                                         • “Spiking” or “fortification” of vanilla through addition of
                                           natural and artificial flavors including vanillin, which
                                           simulates vanilla taste but obtained from tree bark

                                         • Injection of vanilla beans with mercury, a poisonous
 ➢ Addition of fillers to give
                                           substance, to raise the weight of vanilla beans, alleged in
     the impression there is
                                           International Flavors and Fragrances (IFF), Inc. v. Day
     more of the product than
                                           Pitney LLP and Robert G. Rose, 2005, Docket Number L-
     there actually is
                                           4486-09, Superior Court of New Jersey, Middlesex County



11
   Chee-Teck Tan, "Physical Chemistry in Flavor Products Preparation: An Overview" in Flavor Technology, ACS
Symposium Series, Vol. 610 1995. 1-17.
12
   Berenstein, 423.
                                                      6
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                                           • Subtle, yet deliberate misidentification and obfuscation of
                                              a product’s components and qualities as they appear on the
                                              ingredient list
                                              o “ground vanilla beans” gives impression it describes
                                                  unexhausted vanilla beans when actually it is devoid of
                                                  flavor and used for aesthetics
                                              o “natural vanilla flavorings” – “-ing” as suffix referring
                                                  to something like that which is described
 ➢ Ingredient List Deception13                o “Vanilla With Other Natural Flavors” – implying –
                                                  wrongly – such a product has a sufficient amount of
                                                  vanilla to characterize the food
                                              o “Natural Flavors” – containing “natural vanillin”
                                                  derived not from vanilla beans but from tree pulp.
                                                  When paired with real vanilla, vanillin is required to be
                                                  declared as an artificial flavor
                                              o “Non-Characterizing” flavors which are not identical
                                                  to vanilla, but that extend vanilla


         23.    The “plasticity of legal reasoning” with respect to food fraud epitomize what H.

Mansfield Robinson and Cecil H. Cribb noted in 1895 in the context of Victorian England:

         the most striking feature of the latter‐day sophisticator of foods is his knowledge of
         the law and his skill in evading it. If a legal limit on strength or quality be fixed for
         any substance (as in the case of spirits), he carefully brings his goods right down to
         it, and perhaps just so little below that no magistrate would convict him.

         The law and chemistry of food and drugs. London: F.J. Rebman at p. 320.14

     B. The Use of Vanillin to Simulate Vanilla

         24.    The most persistent challenger to the authenticity of real vanilla has been synthetic


13
   Recent example of this would be “evaporated cane juice” as a more healthful sounding term to consumers to identify
sugar.
14
   Cited in Sébastien Rioux, “Capitalist food production and the rise of legal adulteration: Regulating food standards
in 19th‐century Britain,” Journal of Agrarian Change 19.1 (2019) at p. 65 (64-81).
                                                          7
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versions of its main flavor component, vanillin.

        25.    First synthesized from non-vanilla sources by German chemists in the mid-1800s,

vanillin was the equivalent of steroids for vanilla flavor.

        26.    According to Skip Rosskam, a professor of vanilla at Penn State University and

former head of the David Michael flavor house in Philadelphia, “one ounce of vanillin is equal to

a full gallon of single-fold vanilla extract.”15

        27.    Today, only 1-2% of vanillin in commercial use is vanillin obtained from the vanilla

plant, which means that almost all vanillin has no connection to the vanilla bean.

        28.    Nevertheless, disclosure of this powerful ingredient has always been required where

a product purports to be flavored with vanilla. See Kansas State Board of Health, Bulletin, Vol. 7,

1911, p. 168 (cautioning consumers that flavor combinations such as “vanilla and vanillin…vanilla

flavor compound,” etc., are not “vanilla [extract] no matter what claims, explanations or formulas

are given on the label.”).

        29.    Since vanilla is the only flavor with its own standard of identity, its labeling is

controlled not by the general flavor regulations but by the standards for vanilla ingredients.

        30.    This means that if a product is represented as being characterized by vanilla yet

contains non-vanilla vanillin, the label and packaging must declare vanillin an artificial flavor. See

Vanilla-vanillin extract at 21 C.F.R. § 169.180(b) (“The specified name of the food is ‘Vanilla-

vanillin extract _-fold’ or ‘_-fold vanilla-vanillin extract’, followed immediately by the statement

‘contains vanillin, an artificial flavor (or flavoring)’.”); see also 21 C.F.R. § 169.181(b), §

169.182(b) (Vanilla-vanillin flavoring and Vanilla-vanillin powder).




15
  Katy Severson, Imitation vs. Real Vanilla: Scientists Explain How Baking Affects Flavor, Huffington Post, May
21, 2019.
                                                      8
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           31.    This prevents consumers from being misled by products which may taste similar to

real vanilla and but for consumer protection requirements, would be sold at the price of real vanilla.


       C. Production of “Natural Vanillins” Combined with “Natural Vanilla”

           32.    The past ten years have seen many vanillins purporting to be a “natural flavor” –

derived from a natural source material which undergoes a natural production process.

           33.    However, “natural vanillin” is not a “natural vanilla flavor” because the raw material

is not vanilla beans but ferulic acid and eugenol.

           34.    Ferulic acid can be converted to vanillin through a natural fermentation process

which is cost prohibitive for almost all applications.

           35.    Vanillin from eugenol is easier to produce in a way claimed to be a “natural process.”

           36.    However, because this process occurs without transparency or verification in China,

regulators and consumers are not told the production method is more properly described as that of

an artificial flavor, involving a chain of chemical reactions.


III.       Flavor Industry’s Efforts to Use Less Vanilla, Regardless of any Shortages

           37.    The “flavor industry” refers to the largest “flavor houses” such as Symrise AG,

Firmenich, Givaudan, International Flavors and Fragrances (including David Michael), Frutarom

and Takasago International along with the largest food manufacturing companies such as Unilever.

           38.    The recent global shortage of vanilla beans has provided the flavor industry another

opportunity to “innovate[ing] natural vanilla solutions…to protect our existing customers.”16

           39.    Their “customers” do not include the impoverished vanilla farmers nor consumers,

who are sold products labeled as “vanilla” for the same or higher prices than when those products



16
     Amanda Del Buouno, Ingredient Spotlight, Beverage Industry, Oct. 3, 2016.
                                                          9
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contained only vanilla.

           40.    These efforts include (1) market disruption and manipulation and (2) the

development of alternatives to vanilla which completely or partially replace vanilla.


       A. Flavor Industry’s Attempt to Disrupt Supply of Vanilla to Create a “Permanent Shortage”

           41.    The flavor industry has developed schemes such as the “Sustainable Vanilla

Initiative” and “Rainforest Alliance Certified,” to supposedly assure a significant supply of vanilla

at stable, reasonable prices.

           42.    Contrary to their intention, these programs make vanilla less “sustainable” by paying

farmers to destroy their vanilla and harvest palm oil under the pretense of “crop diversification.”

           43.    There have also been allegations that these programs use child and/or slave labor.

           44.    Other tactics alleged to be utilized by these companies include “phantom bidding,”

where saboteurs claim they will pay a higher price to small producers, only to leave the farmers in

the lurch, forced to sell at bottom dollar to remaining bidders.17

           45.    The reasons for these counterintuitive actions is because they benefit from high

vanilla prices and the use of less real vanilla.

           46.    When less vanilla is available, companies must purchase the higher margin,

proprietary, “vanilla-like” flavorings made with advanced technology and synthetic biology.


       B. Use of Vanilla WONF Ingredients to Replace and Provide Less Vanilla

           47.    Though flavor companies will not admit their desire to move off real vanilla, this

conclusion is consistent with the comments of industry executives.

           48.    According to Suzanne Johnson, vice president or research at a North Carolina



17
     Monte Reel, The Volatile Economics of Natural Vanilla in Madagascar, Bloomberg.com, Dec. 16, 2019.
                                                        10
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laboratory, “Many companies are trying to switch to natural vanilla with other natural flavors

[WONF] in order to keep a high-quality taste at a lower price,” known as “Vanilla WONF.”

        49.     The head of “taste solutions” at Irish conglomerate Kerry urged flavor manufacturers

to “[G]et creative” and “build a compounded vanilla flavor with other natural flavors.”

        50.     A compounded vanilla flavor “that matches the taste of pure vanilla natural extracts”

can supposedly “provide the same vanilla taste expectation while requiring a smaller quantity of

vanilla beans. The result is a greater consistency in pricing, availability and quality.”18

        51.     These compounded flavors exist in a “black box” with “as many as 100 or more

flavor ingredients,” including potentiators and enhancers, like maltol and piperonal, blended

together to enhance the vanilla, allowing the use of less vanilla to achieve the intended taste.19

        52.     The effort to replace vanilla with so-called Vanilla WONF started in the late 1960s,

but the last 10 years have seen the proliferation of this ingredient.


     C. Decline of Industry Self-Governance

        53.     That high level executives in the flavor industry are willing to boast of their

stratagems to give consumers less vanilla for the same or greater price is not unexpected.

        54.     The once powerful and respected trade group, The Flavor and Extract Manufacturers

Association (“FEMA”), abandoned its “self-policing” of misleading vanilla labeling claims and

disbanding its Vanilla Committee.

        55.     FEMA previously opposed industry efforts to deceive consumers, but cast the public

to the curb in pursuit of membership dues from its largest members, such as Unilever.


18
  Donna Berry, Understanding the limitations of natural flavors, BakingBusiness.com, Jan. 16, 2018.
19
  Hallagan and Drake, FEMA GRAS and U.S. Regulatory Authority: U.S. Flavor and Food Labeling Implications,
Perfumer & Flavorist, Oct. 25, 2018; Charles Zapsalis et al., Food chemistry and nutritional biochemistry. Wiley,
1985, p. 611 (describing the flavor industry’s goal to develop vanilla compound flavors “That Seem[s] to be Authentic
or at Least Derived from a Natural Source”) (emphasis added).
                                                         11
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IV.     Front Label is Misleading Due to Not Disclosing Non-Vanilla Flavors

        56.    Where a food makes any representations as to its primary flavor, it must be

designated in a way which gives consumers the required information to make an informed

purchasing decision. See 21 C.F.R. § 101.22(i)(1)(i)-(iii) (factors for flavor labeling include the

presence of natural and artificial flavor, whether the natural and artificial flavor simulates,

resembles or reinforces the characterizing flavor and whether the natural flavor is obtained from

the food ingredient represented as the characterizing flavor – i.e., does the peach flavor come from

real peaches or is it synthesized from apricots).

        57.    The Product’s label of “Vanilla” gives the impression that its entire flavor (taste

sensation and ingredient imparting same) is contributed by the characterizing food ingredient of

vanilla beans. See 21 C.F.R. § 101.22(i)(1) (describing a food which contains no simulating

artificial flavor and not subject to 21 C.F.R. § 101.22(i)(1)(i)-(iii)).

        58.    The representations are misleading because though the front label designates the

Product as “Vanilla,” the ingredient list identifies “Natural Vanilla Flavor With Other Natural

Flavors.”

                                            Ingredient List




              INGREDIENTS: FILTERED WATER, BROWN RICE (PARTIALLY
              MILLED), EXPELLER PRESSED CANOLA OIL AND/OR
              SAFFLOWER OIL AND/OR SUNFLOWER OIL, NATURAL VANILLA
              FLAVOR WITH OTHER NATURAL FLAVORS, SEA SALT.

        59.    The term “With Other Natural Flavors” following the name of the characterizing

                                                    12
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flavor of vanilla (“Natural Vanilla Flavor”) on the ingredient list means these flavors (1) are not

derived from vanilla and (2) “simulate[s], resemble[s] or reinforce[s] the characterizing flavor” of

vanilla. See 21 C.F.R. § 101.22(i)(1)(iii).

       60.    21 C.F.R. § 101.22(i)(1)(iii) states:

       If the food contains both a characterizing flavor from the product whose flavor is
       simulated and other natural flavor which simulates, resembles or reinforces the
       characterizing flavor, the food shall be labeled in accordance with the introductory
       text and paragraph (i)(1)(i) of this section and the name of the food shall be
       immediately followed by the words "with other natural flavor" in letters not less
       than one-half the height of the letters used in the name of the characterizing flavor.

       61.    If the amount of the characterizing vanilla flavor is sufficient to independently

characterize the Product, the front label would state “[Vanilla] With Other Natural Flavor.” See 21

C.F.R. § 101.22(i)(1)(iii); see also 21 C.F.R. § 101.22(i)(1) (“introductory text” describing

scenario where food contains “no artificial flavor which simulates, resembles or reinforces the

characterizing flavor,” and none of the sub-paragraphs of 21 C.F.R. § 101.22(i)(1) apply).

       62.    If the amount of the characterizing vanilla flavor is insufficient to independently

characterize the food, the front label would state “[Vanilla] Flavored With Other Natural Flavor.”

See 21 C.F.R. § 101.22(i)(1)(iii) referring to “paragraph (i)(1)(i) of this section”; see also 21 C.F.R.

§ 101.22(i)(1)(i).

       63.    Moreover, because the standardized vanilla ingredients – vanilla extract and vanilla

flavoring “are expensive” and valued by consumers because of their quality, it misleading to not

distinguish such flavor combinations from other similar products. Exhibit A, Letter from FDA to

Ernie Molina, Warner-Jenkinson Company of California, January 17, 1980 (“the general principles

of 21 CFR 102.5 should apply” when a product contains vanilla with other natural flavors so

consumers are not misled as to the amount of vanilla).

       64.    If the vanilla WONF used in the Product consists of half vanilla and half non-vanilla
                                                  13
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natural flavors, the product name should state “contains 50% vanilla extract and 50% non-vanilla

flavors” or otherwise disclose the proportions. Exhibit A; 21 C.F.R. § 102.5(b) (requiring

disclosure of the “percentage(s) of any characterizing ingredient(s) or component(s) [as part of the

product name] when the proportion of such ingredient(s) or component(s) in the food has a material

bearing on price or consumer acceptance or when the labeling or the appearance of the food may

otherwise create an erroneous impression that such ingredient(s) or component(s) is present in an

amount greater than is actually the case.”)

         65.   To the extent the “Other Natural Flavors” contain vanillin not derived from vanilla,

it cannot be designated as “natural flavors” and artificial flavor must be disclosed on the front

label.

         66.   This is because vanillin has always been considered artificial when used with real

vanilla. See Vanilla-vanillin extract at 21 C.F.R. § 169.180(b) (“The specified name of the food is

‘Vanilla-vanillin extract _-fold’ or ‘_-fold vanilla-vanillin extract’, followed immediately by the

statement ‘contains vanillin, an artificial flavor (or flavoring)’.”).

         67.   Even if the vanilla WONF does not contain vanillin, the Product’s front label still

fails to disclose any flavors other than vanilla, which is false and misleading to consumers.

         68.   The identification of “Natural Vanilla Flavor With Other Natural Flavors” on the

ingredient list is not sufficient to cure the misleading front label designation of “Vanilla” because

it fails to tell consumers that the Product contains a de minimis amount of vanilla and that the

vanilla taste is supplied by vanillin and/or flavors like maltol and piperonal.


V.       Conclusion

         69.   Defendant’s branding and packaging of the Product is designed to – and does –

deceive, mislead, and defraud consumers.

                                                   14
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       70.   Defendant has sold more of the Products and at higher prices per unit than it would

have in the absence of this misconduct, resulting in additional profits at the expense of consumers.

       71.   The amount and proportion of the characterizing component, vanilla, has a material

bearing on price or consumer acceptance of the Products because consumers are willing to pay

more for such Products.

       72.   The value of the Product that plaintiff purchased and consumed was materially less

than its value as represented by defendant.

       73.   Had plaintiff and class members known the truth, they would not have bought the

Products or would have paid less for it.

       74.   The Product contains other representations which are misleading and deceptive.

       75.   As a result of the false and misleading labeling, the Product is sold at a premium

price, approximately no less than $4.59 per unit, excluding tax, compared to other similar products

represented in a non-misleading way.

                                      Jurisdiction and Venue


       76.   Jurisdiction is proper pursuant to 28 U.S.C. § 1332(d)(2) (Class Action Fairness Act

of 2005 or “CAFA”).

       77.   Under CAFA, district courts have “original federal jurisdiction over class actions

involving (1) an aggregate amount in controversy of at least $5,000,000; and (2) minimal

diversity[.]" Gold v. New York Life Ins. Co., 730 F.3d 137, 141 (2d Cir. 2013).

       78.   Upon information and belief, the aggregate amount in controversy is more than

$5,000,000.00, exclusive of interests and costs.

       79.   Plaintiff is a citizen of New York.

       80.   Defendant is a Delaware corporation with a principal place of business in New Hyde
                                                   15
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Park, Nassau County, New York and is a citizen of New York.

        81.   Jurisdiction is proper pursuant to 28 U.S.C. § 1332(d)(2) (Class Action Fairness Act

of 2005 or “CAFA”).

        82.   Under CAFA, district courts have “original federal jurisdiction over class actions

involving (1) an aggregate amount in controversy of at least $5,000,000; and (2) minimal

diversity[.]" Gold v. New York Life Ins. Co., 730 F.3d 137, 141 (2d Cir. 2013).

        83.   Upon information and belief, the aggregate amount in controversy is more than

$5,000,000.00, exclusive of interests and costs.

        84.   This is a reasonable assumption because defendant’s Products are sold in thousands

of stores across all 50 states and have been sold bearing the allegedly misleading claims for at least

five years.

        85.   “Minimal diversity” exists because even though the parties are citizens of New York,

plaintiff seeks to represent persons in all states who purchased the Products. Gonzales v. Agway

Energy Services, LLC, No. 18-cv-235 (N.D.N.Y. Oct. 22, 2018) (“At this time, the allegation that

some class member maintains diversity with Defendant is sufficient to establish minimal diversity

under CAFA” and citing 28 U.S.C. § 1332(d)(1)(D) “’the term ‘class members’ means the persons

(named or unnamed) who fall within the definition of the proposed or certified class in a class

action.”).

        86.   Certain exceptions preclude diversity jurisdiction. 28 U.S.C. § 1332(d)(4).

        87.   The “local controversy” exception does not apply because less than two-thirds of the

putative class members are citizens of New York.

        88.   Under the "local controversy" exception, a district court must decline jurisdiction if

"more than two-thirds of the putative class members are citizens of the state in which the action

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was originally filed. See Green v. Sweetworks Confections, LLC, No. 18-cv-902 S.D.N.Y. Aug.

21, 2019) quoting 28 U.S.C. § 1332(d)(4)(A).

        89.   At bar, the “local controversy” exception is not satisfied because less than two-thirds

of proposed class members are citizens of New York.

        90.   For more than two-thirds of class members to be citizens of New York, defendant

would need two-thirds of its customers to be from New York, even though New York does not

contain this percentage of the nation’s population.

        91.   Under the “home state controversy” exception to CAFA, a district court "shall

decline to exercise jurisdiction" if "two-thirds or more of the members of all proposed plaintiff

classes in the aggregate, and the primary defendants, are citizens of the State in which the action

was originally filed." 28 U.S.C. § 1332(d)(4)(B).

        92.   For the same reasons that the local controversy exception does not apply, the home

state controversy does not apply.

        93.   This court has personal jurisdiction over defendant because it conducts and transacts

business, contracts to provide and/or supply and provides and/or supplies services and/or goods

within New York.

        94.   Venue is proper because plaintiff and many class members reside in this District and

defendant does business in this District and State.

        95.   A substantial part of events and omissions giving rise to the claims occurred in this

District.

                                                Parties

        96.   Plaintiff is a citizen of Brooklyn, Kings County, New York.

        97.   Defendant The Hain Celestial Group, Inc. is a Delaware corporation with a principal


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place of business in New Hyde Park, New York, Nassau County.

       98.    During the relevant statutes of limitations, plaintiff purchased the Product within this

district and/or State for personal consumption in reliance on the representations.

                                         Class Allegations


       99.    The classes will consist of all purchasers of the Products in New York, the other 49

states and a nationwide class, during the applicable statutes of limitations.

       100. Common questions of law or fact predominate and include whether defendant’s

representations were and are misleading and if plaintiff and class members are entitled to damages.

       101. Plaintiff's claims and basis for relief are typical to other members because all were

subjected to the same unfair and deceptive representations and actions.

       102. Plaintiff is an adequate representative because her interests do not conflict with other

members.

       103. No individual inquiry is necessary since the focus is only on defendant’s practices

and the class is definable and ascertainable.

       104. Individual actions would risk inconsistent results, be repetitive and are impractical

to justify, as the claims are modest relative to the scope of the harm.

       105. Plaintiff's counsel is competent and experienced in complex class action litigation

and intends to adequately and fairly protect class members’ interests.

       106. Plaintiff seeks class-wide injunctive relief because the practices continue.

                                       New York GBL §§ 349 & 350
                                 (Consumer Protection from Deceptive Acts)

       107. Plaintiff incorporates by reference all preceding paragraphs.

       108. Plaintiff and class members desired to purchase, consume and use products or


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services which were as described and marketed by defendant and expected by reasonable

consumers, given the product or service type.

       109. Defendant’s acts and omissions are not unique to the parties and have a broader

impact on the public.

       110. Defendant misrepresented the substantive, quality, compositional, organoleptic

and/or nutritional attributes of the Products.

       111. Defendant’s conduct was misleading, deceptive, unlawful, fraudulent, and unfair

because it gives the impression to consumers the Products contain sufficient amounts of the

highlighted ingredient, vanilla, to independently characterize the taste or flavor of the Products,

did not contain other flavor components which simulate, resemble or reinforce the characterizing

flavor and only contained flavor from vanilla.

       112. Plaintiff and class members would not have purchased the Products or paid as much

if the true facts had been known, suffering damages.

                                        Negligent Misrepresentation

       113. Plaintiff incorporates by reference all preceding paragraphs.

       114. Defendant misrepresented the substantive, quality, compositional, organoleptic

and/or nutritional attributes of the Products.

       115. Defendant’s conduct was misleading, deceptive, unlawful, fraudulent, and unfair

because it gives the impression to consumers the Products contain sufficient amounts of the

highlighted ingredient, vanilla, to independently characterize the taste or flavor of the Products,

did not contain other flavor components which simulate, resemble or reinforce the characterizing

flavor and only contained flavor from vanilla.

       116. Defendant had a duty to disclose and/or provide non-deceptive marketing of the

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Products and knew or should have known same were false or misleading.

       117. This duty is based on defendant’s position as an entity which has held itself out as

having special knowledge and experience in the production, service and/or sale of the product or

service type.

       118. The representations took advantage of consumers’ (1) cognitive shortcuts made at

the point-of-sale and (2) trust placed in defendant, a well-known and respected brand in this sector.

       119. Plaintiff and class members reasonably and justifiably relied on these negligent

misrepresentations and omissions, which served to induce and did induce, the purchase of the

Products.

       120. Plaintiff and class members would not have purchased the Product or paid as much

if the true facts had been known, suffering damages.

            Breaches of Express Warranty, Implied Warranty of Merchantability and
                  Magnuson Moss Warranty Act, 15 U.S.C. §§ 2301, et seq.

       121. Plaintiff incorporates by reference all preceding paragraphs.

       122. The Products were manufactured, labeled and sold by defendant and warranted to

plaintiff and class members that they possessed substantive, functional, nutritional, qualitative,

compositional, organoleptic, sensory, physical and other attributes which they did not.

       123. Defendant had a duty to disclose and/or provide non-deceptive descriptions and

marketing of the Products.

       124. This duty is based, in part, on defendant’s position as one of the most recognized

companies in the nation in this sector.

       125. Plaintiff provided or will provide notice to defendant, its agents, representatives,

retailers and their employees.

       126. Defendant received notice and should have been aware of these misrepresentations
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due to numerous complaints by consumers to its main office over the past several years.

       127. The Products did not conform to their affirmations of fact and promises due to

defendant’s actions and were not merchantable.

       128. Plaintiff and class members would not have purchased the Products or paid as much

if the true facts had been known, suffering damages.

                                                Fraud


       129. Plaintiff incorporates by references all preceding paragraphs.

       130. Defendant’s conduct was misleading, deceptive, unlawful, fraudulent, and unfair

because it gives the impression to consumers the Products contain sufficient amounts of the

highlighted ingredient, vanilla, to independently characterize the taste or flavor of the Products,

did not contain other flavor components which simulate, resemble or reinforce the characterizing

flavor and only contained flavor from vanilla.

       131. Defendant’s fraudulent intent is evinced by its failure to accurately identify the

Products on the front label when it knew this was not true.

       132. Plaintiff and class members would not have purchased the Products or paid as much

if the true facts had been known, suffering damages.

                                           Unjust Enrichment

       133. Plaintiff incorporates by reference all preceding paragraphs.

       134. Defendant obtained benefits and monies because the Products were not as

represented and expected, to the detriment and impoverishment of plaintiff and class members,

who seek restitution and disgorgement of inequitably obtained profits.

                                 Jury Demand and Prayer for Relief

Plaintiff demands a jury trial on all issues.

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    WHEREFORE, Plaintiff prays for judgment:

   1. Declaring this a proper class action, certifying Plaintiff as representative and undersigned

      as counsel for the class;

   2. Entering preliminary and permanent injunctive relief by directing defendant to correct the

      challenged practices to comply with the law;

   3. Injunctive relief to remove, correct and/or refrain from the challenged practices and

      representations, restitution and disgorgement for members of the State Subclasses pursuant

      to the applicable laws of their States;

   4. Awarding monetary damages and interest, including treble and punitive damages, pursuant

      to the common law and other statutory claims;

   5. Awarding costs and expenses, including reasonable fees for plaintiff's attorneys and

      experts; and

   6. Other and further relief as the Court deems just and proper.

Dated: February 23, 2020
                                                              Respectfully submitted,

                                                              Sheehan & Associates, P.C.
                                                              /s/Spencer Sheehan
                                                              Spencer Sheehan
                                                              505 Northern Blvd Ste 311
                                                              Great Neck NY 11021-5101
                                                              Tel: (516) 303-0552
                                                              Fax: (516) 234-7800
                                                              spencer@spencersheehan.com
                                                              E.D.N.Y. # SS-8533
                                                              S.D.N.Y. # SS-2056


                                                              Reese LLP
                                                              Michael R. Reese
                                                              100 W 93rd St Fl 16
                                                              New York NY 10025-7524
                                                              Telephone: (212) 643-0500
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                                                  Fax: (212) 253-4272
                                                  mreese@reesellp.com




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1:20-cv-00979
United States District Court
Eastern District of New York

Janet Kyszenia, individually and on behalf of all others similarly situated,


                                         Plaintiff,


         - against -


The Hain Celestial Group, Inc.,


                                          Defendant




                                           Complaint



                       Sheehan & Associates, P.C.
                        505 Northern Blvd Ste 311
                         Great Neck NY 11021-5101
                            Tel: (516) 303-0552
                            Fax: (516) 234-7800




Pursuant to 22 NYCRR 130-1.1, the undersigned, an attorney admitted to practice in the courts of
New York State, certifies that, upon information, and belief, formed after an inquiry reasonable
under the circumstances, the contentions contained in the annexed documents are not frivolous.

Dated: February 23, 2020
                                                                          /s/ Spencer Sheehan
                                                                           Spencer Sheehan
